                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00344-CR

JESSICA JAY BREDESON-ELLIOTT,              §   On Appeal from the 355th District Court
Appellant
                                           §   of Hood County (CR16056)

                                           §   August 22, 2024
V.
                                           §   Memorandum Opinion by Justice Wallach

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.


                                      SECOND DISTRICT COURT OF APPEALS


                                      By _/s/ Mike Wallach__________________
                                         Justice Mike Wallach
